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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




      DAVID FITZGERALD,                   CV 20-6349 DSF (RAOx)
          Plaintiff,
                                          Order to Show Cause re
                      v.                  Sanctions

      MERCEDES BENZ USA, LLC,
      et al.,
              Defendants.



            The pretrial conference was held on August 2, 2021. Plaintiff’s
     counsel Michelle Reynolds failed to file a Memorandum of Contentions
     of Fact and Law. Though the Court raised this issue at the pretrial
     conference, Reynolds has not yet filed this document. In addition, it
     appears Reynolds has yet to file the other required pretrial documents,
     including the proposed pretrial conference order. Instead, she merely
     submitted a red-lined version to the Court’s chambers email. Though
     the Court told Reynolds what was required, she has yet to file that
     document. In addition, she has not cooperated with defense counsel in
     the preparation of a joint exhibit list. See dkt. 73.

           The Court has previously warned Reynolds that sanctions would
     be imposed for future failures to handle this matter competently, but
     she continues to fail to do so.

            Reynolds is ordered to show cause why the Court should not issue
     sanctions in the amount of $900 for her repeated failure to follow this
     Court’s orders and prosecute this case. A written response is due no
     later than December 13, 2021. Submission of Plaintiff’s memorandum
     of contentions and proposed pretrial conference order and exhibit list
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     (prepared jointly with defense counsel) by that date will be a sufficient
     response to this Order to Show Cause. However, further failures to
     comply with this Court’s rules and orders will result in sanctions,
     which may include monetary sanctions and dismissal.

            In addition, the parties are to meet and confer and propose new
     trial (a Tuesday that is not a holiday) and pretrial conference (a
     Monday that is not a holiday) dates. Finally, as discussed at the
     pretrial conference, the parties are to work jointly on a revised set of
     jury instructions, which are to be submitted two weeks before the new
     pretrial conference date.

           IT IS SO ORDERED.

      Date: December 1, 2021                 ___________________________
                                             Dale S. Fischer
                                             United States District Judge




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